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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


ANGELA CLARK,                                                 Case No. 20-11302
                                                              Honorable Linda V. Parker
       Plaintiff,                                             Magistrate Judge David R. Grand

v.

GENERAL ELECTRIC CORPORATION,
ET AL,

       Defendant(s).
                                   /

                    NOTICE OF SETTLEMENT CONFERENCE_VIA ZOOM

       A SETTLEMENT CONFERENCE in the above-entitled case has been set for Friday,

January 29, 2021, at 10:00a.m. before U.S. Magistrate Judge David R. Grand via Zoom.

CLIENT(S)/CLIENT            REPRESENTATIVE(S)               WITH       FULL      SETTLEMENT

AUTHORITY MUST ATTEND THE SETTLEMENT CONFERENCE.

       The parties shall submit concise confidential statements summarizing their respective

position(s) on the case and the history of all settlement negotiations, not to exceed five (5) pages,

by Wednesday, January 27, 2021, at 4:30 p.m. Each party’s confidential statement should be

hand-delivered or faxed directly to Chambers at 734-741-2483, and is not to be filed with the

Court or placed on the docket.         An email will be sent to counsel of record with zoom

instructions.

Dated: January 13, 2021

       I hereby certify that a copy of the foregoing document was served upon counsel of record
on January 13, 2021, by electronic and/or ordinary mail.

                               s/Eddrey O. Butts
                               Case Manager, (734) 741-2484
